Case 3:09-cv-00122-JLS-RBB Document 381 Filed 02/04/14 PageID.22307 Page 1 of 2



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   9                        UNITED STATES DISTRICT COURT
  10                     SOUTHERN DISTRICT OF CALIFORNIA
  11   SKINMEDICA, INC.,                                   CASE NO. 09-CV-122 JLS (RBB)
  12                                    Plaintiff,         ORDER: (1) GRANTING JOINT
                                                           MOTION FOR DISMISSAL OF
  13          vs.                                          ACTION WITH PREJUDICE;
                                                           AND (2) REFERRING ALL
  14                                                       FURTHER PROCEEDINGS TO
                                                           MAGISTRATE JUDGE RUBEN
  15                                                       BROOKS
       HISTOGEN INC., a Delaware
  16   Corporation; HISTOGEN
       AESTHETICS LLC, a California                        (ECF No. 380)
  17   Limited Liability Company; and
       GAIL K. NAUGHTON, an individual,
  18
                                   Defendants.
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  20         Presently before the Court is the parties’ Joint Motion for Dismissal of Action
  21 with Prejudice Pursuant to Federal Rule of Civil Procedure 41(a)(2). (ECF No. 380.)
  22 Also before the Court is the parties’ Notice, Consent, and Reference of a Civil Action
  23 to a Magistrate Judge. (See id.)
  24         Good cause appearing, the Court GRANTS the parties’ Joint Motion for
  25 Dismissal.     The above-entitled action—including all claims, counterclaims, and
  26 defenses asserted in this case as between the parties—is hereby DISMISSED WITH
  27 PREJUDICE. As stipulated by the parties, each shall bear its own costs and fees.
  28         Furthermore, pursuant to the parties’ Notice, the Court REFERS all further

                                                     -1-                               09cv122
Case 3:09-cv-00122-JLS-RBB Document 381 Filed 02/04/14 PageID.22308 Page 2 of 2



   1 proceedings in this action, including enforcement of the parties’ settlement agreement,
   2 to Magistrate Judge Ruben Brooks.
   3        IT IS SO ORDERED.
   4 DATED: February 4, 2014
   5                                          Honorable Janis L. Sammartino
                                              United States District Judge
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